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              IN THE UNITED STATES DISTRICT COURT
            FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

PACE-O-MATIC, INC.,                         :      Civil No. 1:20-CV-00292
                                            :
      Plaintiff,                            :
                                            :      (Judge Wilson)
v.                                          :
                                            :      (Magistrate Judge Carlson)
ECKERT, SEAMANS CHERIN                      :
& MELLOTT, LLC, et al.,                     :
                                            :
      Defendants.                           :

                                     ORDER

      AND NOW, this 31st day of March 2022, upon receipt of the plaintiff’s March

23, 2022 correspondence (Doc. 202), which requests a postponement of the

settlement conference scheduled for April 5, 2022 in order to conduct additional

discovery related to settlement discussions, IT IS HEREBY ORDERED THAT the

settlement conference scheduled for April 5, 2022 is POSTPONED. The parties shall

provide a status report to the court on or before May 30, 2022 regarding the status

of settlement discussions and discovery and the parties’ interest in rescheduling a

settlement conference.



                                            /s/ Martin C. Carlson
                                            Martin C. Carlson
                                            United States Magistrate Judge

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